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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                              UNITED STATES BANKRUPTCY COURT                                             March 17, 2023
                                SOUTHERN DISTRICT OF TEXAS                                             Nathan Ochsner, Clerk
                                      HOUSTON DIVISION


In re:                            §                            Chapter 11
                                  §
FIELDWOOD ENERGY III LLC, et al., §                            Case No. 20-33948 (MI)
                                  §
                                  §                            (Jointly Administered)
Post-Effective Date Debtors.1
                                  §
                                  §                            Re: Docket No. 2758

    ORDER GRANTING PLAN ADMINISTRATOR’S MOTION TO FURTHER EXTEND
       THE DEADLINE TO FILE CLAIM OBJECTIONS TO SPECIFIED CLAIMS

         Upon the motion (the “Motion”)2 of the Plan Administrator in the above-referenced

chapter 11 cases for entry of an order further extending the deadline to file objections to claims;

and the Court having jurisdiction to consider the Motion and the relief requested therein being a

core proceeding in accordance with 28 U.S.C. § 157(b)(2) on which the Court may enter a final

order consistent with Article III of the United States Constitution; and venue being properly in this

district under 28 U.S.C. §§ 1408 and 1409; and good and adequate notice of the Motion having

been given under the circumstances and it appearing that no other or further notice need be

provided; and it appearing that the legal and factual bases set forth in the Motion establish just



1
     The Post-Effective Date Debtors, along with the last four digits of each Post-Effective Date Debtor’s federal tax
     identification number, as applicable, are: Fieldwood Energy III LLC (6778); Fieldwood Energy Offshore LLC
     (4494), Fieldwood Energy Inc. (4991), GOM Shelf LLC (8107), and FW GOM Pipeline, Inc. (8440). Fieldwood
     Energy III LLC, Fieldwood Energy Offshore LLC, and Fieldwood Energy Inc. are managed and operated by the
     Plan Administrator, whose primary mailing address is 16255 Ventura Blvd., Suite 440, Encino, CA, 91436, C/O
     of Province LLC. GOM Shelf LLC and FW GOM Pipeline, Inc. (collectively, the “Post-Effective Date FWE I
     Subsidiaries”) are managed and operated by Jon Graham, as sole manager of each Post-Effective Date FWE I
     Subsidiary. The Debtors in the other nine pending chapter 11 cases (which continue to be jointly administered
     with the cases of the Post-Effective Date Debtors), each of which have either been dissolved or merged into other
     entities as of the Effective Date, consist of the following: Dynamic Offshore Resources NS, LLC (0158);
     Fieldwood Onshore LLC (3489); Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); Bandon
     Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
     Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422).
2
     Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Motion.
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cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefore, IT IS HEREBY ORDERED THAT:

       1.      The Claims Objection Deadline shall be extended through August 17, 2023 with

respect to the Specified Claims identified in Schedule 1 hereto.

       2.      This Court retains exclusive jurisdiction to hear and determine all matters arising

from the implementation of this Order.

       3.      Further extensions are unlikely to be granted, other than for
individualized reasons pertaining to a very limited number of claims.


Signed: March
        October16,
                17,2023
                    2018                    _

                                                      ____________________________________
                                                                    Marvin Isgur
                                                          United States Bankruptcy Judge




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                            Schedule 1

                          Specified Claims
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Fieldwood Energy LLC and its affiliated debtors
Case No. 20-33948

Schedule 1 - Extension Claims




Creditor Name                                  Address                                Claim # Debtor Entity
                                               Attn: Brian L. Brager
Bradford Capital Holdings, LP as Transferee of
                                               Clifton,NJ 07012                          130 Fieldwood Energy LLC
United Fire & Safety LLC

                                               c/o Legal
EnLink LIG, LLC                                Dallas,TX 75201                          1084 Fieldwood Energy LLC

                                               3401 Cavendish Pl
Hill, Sherman Isacc Recardo                    Harvey,LA 70058                          1091 Fieldwood Energy LLC

                                               709 CC RD
JERRY A JOINER AND NANCY A JOINER H/W          RAGLEY,LA 70657                          1047 Fieldwood Energy LLC

                                               PO BOX 3657
LOVVETT, DOROTHY DEHAVEN                       GREENVILLE,DE 19804                      1051 Fieldwood Energy LLC

                                               Porter Hedges LLP
Talos Energy Offshore LLC, Talos Energy LLC,
                                               Houston,TX 77002                         1083 Fieldwood Energy LLC
Talos Energy Inc., & Talos Production Inc.
                                               Porter Hedges LLP
Talos Energy Offshore LLC, Talos Energy LLC,
                                               Houston,TX 77002                         1085 GOM Shelf LLC
Talos Energy Inc., & Talos Production Inc.
                                               Porter Hedges LLP
Talos Energy Offshore LLC, Talos Energy LLC,
                                               Houston,TX 77002                         1088 Fieldwood Energy Offshore LLC
Talos Energy Inc., & Talos Production Inc.

                                               Locke Lord, LLP
W&T Energy VI, LLC                             Houston,TX 77002                         1123 GOM Shelf LLC




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Creditor Name                            Address                            Claim # Debtor Entity
                                         Locke Lord, LLP
W&T Offshore, Inc.                       Houston,TX 77002                     1097 Dynamic Offshore Resources NS, LLC

                                         Locke Lord, LLP
W&T Offshore, Inc.                       Houston,TX 77002                     1099 GOM Shelf LLC

                                         Locke Lord, LLP
W&T Offshore, Inc.                       Houston,TX 77002                     1104 Bandon Oil and Gas, LP

                                         Locke Lord, LLP
W&T Offshore, Inc.                       Houston,TX 77002                     1098 Fieldwood Energy LLC

                                         Locke Lord, LLP
W&T Offshore, Inc.                       Houston,TX 77002                     1100 Fieldwood Energy Offshore LLC

                                         Norton Rose Fulbright US LLP
Anadarko E&P Company LP                  Houston,TX 77010                      888 Fieldwood Onshore LLC

                                         Norton Rose Fulbright US LLP
Anadarko E&P Company LP                  Houston,TX 77010                      890 Fieldwood Energy LLC

                                         Norton Rose Fulbright US, LLP
Anadarko Petroleum Corp.                 Houston,TX 77010                      886 Fieldwood Onshore LLC

                                         Norton Rose Fulbright US, LLP
Anadarko Petroleum Corp.                 Houston,TX 77010                      885 Fieldwood Energy LLC

                                         Norton Rose Fulbright US, LLP
Anadarko U.S. Offshore LLC               Houston,TX 77010                      889 Fieldwood Onshore LLC

                                         Norton Rose Fulbright US LLP
Anadarko U.S. Offshore LLC               Houston,TX 77010                      887 Fieldwood Energy LLC




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Creditor Name                             Address                                   Claim # Debtor Entity
                                          Attn: Tae-Gook Lee
ANKOR E&P Holdings Corporation            New Orleans,LA 70112                         985 Fieldwood Energy Offshore LLC

                                          Attn: Tae-Gook Lee
ANKOR Energy LLC                          New Orleans,LA 70112                         984 Fieldwood Energy Offshore LLC

                                          Karl D. Burrer - Greenberg Traurig, LLP
BP Exploration & Production Inc.          Houston,TX 77002                            1033 Fieldwood Energy LLC

                                          Andrews Myers, P.C.
Chevron U.S.A. Inc.                       Houston,TX 77056                            1056 Fieldwood Energy LLC

                                          Andrews Myers, P.C.
Chevron U.S.A. Inc.                       Houston,TX 77056                            1060 Bandon Oil and Gas, LP

                                          Andrews Myers, P.C.
Chevron U.S.A. Inc.                       Houston,TX 77056                            1064 Fieldwood Energy SP LLC

                                          Andrews Myers, P.C.
Chevron U.S.A. Inc.                       Houston,TX 77056                            1068 Fieldwood Energy Offshore LLC

                                          Andrews Myers, P.C.
Chevron U.S.A. Inc.                       Houston,TX 77056                            1072 Fieldwood SD Offshore LLC

                                          Conner & Winters, LLP
Cheyenne International Corporation        Oklahoma City,OK 73102                       763 Fieldwood Energy Offshore LLC

                                          Peter D'Apice; Stutzman, Bromberg,
                                          Esserman
CNOOC Petroleum Offshore U.S.A., Inc.                                                  678 Fieldwood Energy Offshore LLC
                                          Dallas,TX 75201




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Creditor Name                            Address                                     Claim # Debtor Entity
                                         Peter D'Apice; Stutzman, Bromberg,
                                         Esserman
CNOOC Petroleum Offshore U.S.A., Inc.                                                   681 Fieldwood Energy LLC
                                         Dallas,TX 75201

                                         Peter D'Apice; Stutzman, Bromberg,
                                         Esserman
CNOOC Petroleum Offshore U.S.A., Inc.                                                   684 GOM Shelf LLC
                                         Dallas,TX 75201

                                         Peter D'Apice; Stutzman, Bromberg,
                                         Esserman
CNOOC Petroleum Offshore U.S.A., Inc.                                                   685 Fieldwood Energy LLC
                                         Dallas,TX 75201

                                         Peter D'Apice; Stutzman, Bromberg,
                                         Esserman
CNOOC Petroleum Offshore U.S.A., Inc.                                                   687 Fieldwood SD Offshore LLC
                                         Dallas,TX 75201

                                         Peter D'Apice; Stutzman, Bromberg,
                                         Esserman
CNOOC Petroleum Offshore U.S.A., Inc.                                                   690 Fieldwood SD Offshore LLC
                                         Dallas,TX 75201

                                         Peter D'Apice; Stutzman, Bromberg,
                                         Esserman
CNOOC Petroleum Offshore U.S.A., Inc.                                                   691 Dynamic Offshore Resources NS, LLC
                                         Dallas,TX 75201

                                         Peter D'Apice; Stutzman, Bromberg,
                                         Esserman
CNOOC Petroleum Offshore U.S.A., Inc.                                                   692 Fieldwood Energy LLC
                                         Dallas,TX 75201

                                         c/o McDowell Knight Roedder & Sledge, LLC
Core Industries, Inc.                    Mobile,AL 36601                                993 Fieldwood Energy LLC




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Creditor Name                              Address                               Claim # Debtor Entity
                                           Jonathan W. Young/ Michael B. Kind
Cox Oil, LLC and related entities          Boston,MA 02199                         1018 Fieldwood Energy LLC

                                           Jonathan W. Young/ Michael B. Kind
Cox Oil, LLC and related entities          Boston,MA 02199                         1019 Fieldwood Energy Inc.

                                           Jonathan W. Young / Michael B. Kind
Cox Oil, LLC and related entities          Boston,MA 02199                         1020 Dynamic Offshore Resources NS, LLC

                                           Jonathan W. Young/ Michael B. Kind
Cox Oil, LLC and related entities          Boston,MA 02199                         1021 Fieldwood Energy Offshore LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         1022 Fieldwood SD Offshore LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         1023 Fieldwood Onshore LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         1024 FW GOM Pipeline, Inc.

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         1025 GOM Shelf LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         1026 Bandon Oil and Gas GP, LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         1027 Bandon Oil and Gas, LP

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         1028 Fieldwood Energy SP LLC




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Creditor Name                              Address                            Claim # Debtor Entity
                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                      1029 Galveston Bay Processing LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                      1030 Fieldwood Offshore LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                      1031 Galveston Bay Pipeline LLC

                                           Squire Patton Boggs (US) LLP
Ecopetrol America LLC                      Phoenix,AZ 85004                      489 Fieldwood Offshore LLC

                                           Squire Patton Boggs (US) LLP
Ecopetrol America LLC                      Phoenix,AZ 85004                      536 Dynamic Offshore Resources NS, LLC

                                           Squire Patton Boggs (US) LLP
Ecopetrol America LLC                      Phoenix,AZ 85004                      537 Fieldwood Energy LLC

                                           Squire Patton Boggs (US) LLP
Ecopetrol America LLC                      Phoenix,AZ 85004                      538 Fieldwood Onshore LLC

                                           Kelly Singer
Ecopetrol America LLC                      Phoenix,AZ 85004                      539 Fieldwood Onshore LLC

                                           Squire Patton Boggs (US) LLP
Ecopetrol America LLC                      Phoenix,AZ 85004                      540 Fieldwood Energy Offshore LLC

                                           Squire Patton Boggs (US) LLP
Ecopetrol America LLC                      Phoenix,AZ 85004                      541 Fieldwood Energy Inc.

                                           Squire Patton Boggs (US) LLP
Ecopetrol America LLC                      Phoenix,AZ 85004                      542 GOM Shelf LLC




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Creditor Name                       Address                                Claim # Debtor Entity
                                    Squire Patton Boggs (US) LLP
Ecopetrol America LLC               Phoenix,AZ 85004                          543 FW GOM Pipeline, Inc.

                                    Squire Patton Boggs (US) LL
Ecopetrol America LLC               Phoenix,AZ 85004                          544 Fieldwood SD Offshore LLC

                                    Squire Patton Boggs (US) LLP
Ecopetrol America LLC               Phoenix,AZ 85004                          545 Fieldwood Energy SP LLC

                                    Squire Patton Boggs (US) LLP
Ecopetrol America LLC               Phoenix,AZ 85004                          546 Bandon Oil and Gas, LP

                                    Squire Patton Boggs (US) LLP
Ecopetrol America LLC               Phoenix,AZ 85004                          547 Bandon Oil and Gas GP, LLC

                                    Squire Patton Boggs (US) LLP
Ecopetrol America LLC               Phoenix,AZ 85004                          548 Galveston Bay Processing LLC

                                    Squire Patton Boggs (US) LLP
Ecopetrol America LLC               Phoenix,AZ 85004                          549 Galveston Bay Pipeline LLC

                                    Kelly Singer
Ecopetrol America LLC               Phoenix,AZ 85004                          716 Fieldwood Energy Offshore LLC

                                    Squire Patton Boggs (US) LLP
Ecopetrol America LLC               Phoenix,AZ 85004                          756 Fieldwood Energy LLC

                                    Bracewell LLP
Eni Petroleum US LLC                Austin,TX 78701                           462 Fieldwood Energy Offshore LLC

                                    Bracewell LLP, Attn: Jonathan Lozano
Eni Petroleum US LLC                Austin,TX 78701                           497 Fieldwood Energy Offshore LLC




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Creditor Name                               Address                              Claim # Debtor Entity
                                            Bracewell LLP
Eni Petroleum US LLC                        Austin,TX 78701                         500 Fieldwood Energy LLC

                                            Bracewell LLP
Eni US Operating Co Inc                     Austin,TX 78701                         468 Fieldwood Energy Offshore LLC

                                            Andrews Myers, P.C.
Enterprise Gas Processing LLC               Houston,TX 77056                        983 Fieldwood Energy LLC

                                            EnVen Energy Corporation
EnVen Energy Ventures, LLC                  Houston,TX 77002                        559 Fieldwood Energy LLC

                                            Locke Lord, LLP
Freeport-McMoRan Oil & Gas LLC              New Orleans,LA 70130                   1089 Fieldwood Energy LLC

                                            Locke Lord, LLP
Freeport-McMoRan Oil & Gas LLC              New Orleans,LA 70130                   1090 Fieldwood SD Offshore LLC

                                            Attn: Anthony Shih
GEL Offshore Pipeline LLC                   Houston,TX 77002                       1004 Fieldwood Energy LLC

                                            Timothy A. Austin
GOM Energy Venture I, LLC                   Houston,TX 77057                        729 Dynamic Offshore Resources NS, LLC

                                            Reed Smith LLP
Hess Corporation                            Dallas,TX 75201                         943 Fieldwood Energy LLC

                                            Reed Smith LLP
Hess Corporation                            Dallas,TX 75201                         944 Fieldwood Energy SP LLC

                                            Attn: Anthony Shih
High Island Offshore System L.L.C.          Houston,TX 77002                       1015 Fieldwood SD Offshore LLC




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Creditor Name                               Address                                  Claim # Debtor Entity
                                            Attn: Anthony Shih
High Island Offshore System, L.L.C.         Houston ,TX 77002                          1016 Fieldwood Energy Offshore LLC

                                            R. Reese & Associates
Japex (U.S.) Corp.                          Houston,TX 77007                            621 Fieldwood Energy LLC

                                            John M. Castillo
Macquarie Corporate and Asset Funding Inc   San Antonio,TX 78205                        853 Fieldwood Energy LLC

                                            Attn: Kirk Kuykendall and Mary Nettles
Marubeni Oil & Gas (USA) LLC                Houston,TX 77024                            726 Fieldwood Energy Offshore LLC

                                            Kirk Kuykendall
Marubeni Oil & Gas (USA) LLC                Houston,TX 77024                            728 Fieldwood Energy LLC

                                            Locke Lord LLP
McMoRan Oil & Gas                           New Orleans,LA 70130                        509 Dynamic Offshore Resources NS, LLC

                                            Locke Lord LLP
McMoRan Oil & Gas LLC                       New Orleans,LA 70130                        532 Fieldwood SD Offshore LLC

                                            Attn: Omer F. Kuebel, III
McMoRan Oil & Gas LLC                       New Orleans,LA 70130                        533 Fieldwood Energy Offshore LLC

                                            Locke Lord, LLP
Merit Energy Company, LLC                   Houston,TX 77002                            469 Fieldwood Energy Offshore LLC

                                            Locke Lord, LLP
Merit Energy Company, LLC                   Houston,TX 77002                            481 Bandon Oil and Gas, LP

                                            Locke Lord, LLP
Merit Energy Company, LLC                   Houston,TX 77002                            487 GOM Shelf LLC




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Creditor Name                             Address                               Claim # Debtor Entity
                                          Locke Lord, LLP
Merit Energy Company, LLC                 Houston,TX 77002                         535 Fieldwood Energy LLC

                                          Andrews Myers, P.C.
Noble Energy, Inc.                        Houston,TX 77056                         440 Fieldwood Energy Offshore LLC

                                          Andrews Myers, P.C.
Noble Energy, Inc.                        Houston,TX 77056                         452 Fieldwood Energy LLC

                                          Andrews Myers, P.C.
Noble Energy, Inc.                        Houston,TX 77056                        1058 Fieldwood SD Offshore LLC

                                          Andrews Myers, P.C.
Noble Energy, Inc.                        Houston,TX 77056                        1061 Fieldwood Energy LLC

                                          Andrews Myers, P.C.
Noble Energy, Inc.                        Houston,TX 77056                        1069 Fieldwood Energy Offshore LLC

                                          Andrews Myers, P.C.
Noble Energy, Inc.                        Houston,TX 77056                        1074 Bandon Oil and Gas, LP

                                          Andrews Myers, P.C.
Noble Energy, Inc.                        Houston,TX 77056                        1075 Fieldwood Energy SP LLC

                                          Timothy A. Austin
Peregrine Oil & Gas II, LLC               Houston,TX 77057                         731 Dynamic Offshore Resources NS, LLC

                                          Timothy A. Austin
Peregrine Oil & Gas II, LLC               Houston,TX 77057                         744 Fieldwood Energy Offshore LLC




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Creditor Name                                  Address                                Claim # Debtor Entity
                                               Timothy A. Austin
Peregrine Oil & Gas, LP                        Houston,TX 77057                          752 Dynamic Offshore Resources NS, LLC

                                               Timothy A. Austin
Peregrine Oil & Gas, LP                        Houston,TX 77057                          760 Fieldwood Energy Offshore LLC

                                               Attn: Timothy A. Austin
Peregrine Oil & Gas, LP                        Houston,TX 77057                         1009 Fieldwood Energy Offshore LLC

                                               Attn: Timothy A. Austin
Peregrine Oil & Gas, LP                        Houston,TX 77057                         1014 Dynamic Offshore Resources NS, LLC

                                               Law Ofc Patricia Williams Prewitt
Plains Gas Solutions                           Navasota,TX 77868                         402 Fieldwood Energy LLC

                                               Anthony Shih
Poseidon Oil Pipeline, L.L.C.                  Houston,TX 77002                         1003 Fieldwood Energy Offshore LLC

                                               Attn: Chace Daley
Samson Contour Energy E&P, LLC                 Tulsa,OK 74103                            954 Fieldwood Energy Offshore LLC

                                               Elizabeth W. Carroll
Samson Offshore Mapleleaf, LLC                 Tulsa,OK 74119                            564 Fieldwood Energy LLC

                                               720 BRAZOS STREET
SEITEL DATA, LTD.                              AUSTIN ,TX 78701                          198 Fieldwood Energy LLC

                                                 Shell Oil Company
Shell Offshore Inc. and other related affiliates Houston,TX 77079                        412 Fieldwood Energy Offshore LLC

                                               Andrews Myers, P.C.
Texaco Inc.                                    Houston,TX 77056                         1062 Fieldwood Energy LLC




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Creditor Name                                Address                               Claim # Debtor Entity
                                             Andrews Myers, P.C.
Texaco Inc.                                  Houston,TX 77056                        1063 Fieldwood Energy SP LLC

                                             Andrews Myers, P.C.
Texaco Inc.                                  Houston,TX 77056                        1070 Fieldwood Energy Offshore LLC

                                             Andrews Myers, P.C.
Texaco Inc.                                  Houston,TX 77056                        1076 Fieldwood SD Offshore LLC

                                             Andrews Myers, P.C.
Texaco Inc.                                  Houston,TX 77056                        1077 Bandon Oil and Gas, LP

                                             Wick Phillips Gould & Martin LLP
Throckmorton Energy, LLC, Tana Exploration
                                             Dallas,TX 75204                          808 Fieldwood Energy LLC
Company LLC, and TC Oil Louisiana LLC

                                             Andrews Myers, P.C.
Union Oil Company of California              Houston,TX 77056                        1059 Fieldwood SD Offshore LLC

                                             Andrews Myers, P.C.
Union Oil Company of California              Houston,TX 77056                        1065 Fieldwood Energy LLC

                                             Andrews Myers, P.C.
Union Oil Company of California              Houston,TX 77056                        1071 Fieldwood Energy Offshore LLC

                                             Andrews Myers, P.C.
Union Oil Company of California              Houston,TX 77056                        1080 Bandon Oil and Gas, LP

                                             Andrews Myers, P.C.
Union Oil Company of California              Houston,TX 77056                        1081 Fieldwood Energy SP LLC

                                             Andrews Myers, P.C.
Unocal Pipeline Company                      Houston,TX 77056                        1057 Fieldwood Energy Offshore LLC




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Creditor Name                               Address                                         Claim # Debtor Entity
                                            Andrews Myers, P.C.
Unocal Pipeline Company                     Houston,TX 77056                                  1067 Fieldwood Energy SP LLC

                                            Andrews Myers, P.C.
Unocal Pipeline Company                     Houston,TX 77056                                  1073 Fieldwood SD Offshore LLC

                                            Andrews Myers, P.C.
Unocal Pipeline Company                     Houston,TX 77056                                  1078 Bandon Oil and Gas, LP

                                            Andrews Myers, P.C.
Unocal Pipeline Company                     Houston,TX 77056                                  1079 Fieldwood Energy LLC


                                            Forshey & Prostok, LLP, c/o J. Robert Forshey
XTO Offshore Inc., HHE Energy Company and
                                            Fort Worth,TX 76102                                666 Fieldwood Energy Offshore LLC
XH LLC

United States Department of the Interior,   Ryan Lamb
Bureau of Safety & Environmental            Washington,DC 20240                                895 Fieldwood Energy Offshore LLC
Enforcement (BSEE)
United States Department of the Interior,   Ryan Lamb
Bureau of Safety & Environmental            Washington,DC 20240                                896 Fieldwood Energy LLC
Enforcement (BSEE)
United States Department of the Interior,   Ryan Lamb
Bureau of Safety & Environmental            Washington,DC 20240                                897 Dynamic Offshore Resources NS, LLC
Enforcement (BSEE)
United States Department of the Interior,   Ryan Lamb
Bureau of Safety & Environmental            Washington,DC 20240                                898 Fieldwood SD Offshore LLC
Enforcement (BSEE)
United States Department of the Interior,   Ryan Lamb
Bureau of Safety & Environmental            Washington,DC 20240                                899 Bandon Oil and Gas, LP
Enforcement (BSEE)




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Creditor Name                                 Address                              Claim # Debtor Entity
United States Department of the Interior,     Ryan Lamb
Bureau of Safety & Environmental              Washington,DC 20240                     900 Fieldwood Energy SP LLC
Enforcement (BSEE)
United States Department of the Interior,     Ryan Lamb
Bureau of Safety & Environmental              Washington,DC 20240                     901 FW GOM Pipeline, Inc.
Enforcement (BSEE)
United States Department of the Interior,     Ryan Lamb
Bureau of Safety & Environmental              Washington,DC 20240                     902 GOM Shelf LLC
Enforcement (BSEE)
                                              6647 OAK GLEN DRIVE
GILLIAM SR., EDWARD                           BATON ROUGE,LA 70812                    840 Fieldwood Energy LLC

                                              WILLIAM F HOWELL
OFFSHORE PARAGON PETROLEUM, INC               HOUSTON,TX 77024                        337 Fieldwood Energy LLC

                                              c/o Brian Colomb
Abshire, Calvin                               Lafayette,LA 70508                      295 Fieldwood Energy LLC

                                              c/o Charles B. Hendricks
Anne Burns as the Chapter 7 Trustee for the
                                              Dallas,TX 75202                         806 Fieldwood Energy LLC
bankruptcy estate of Hoactzin Partners LP

                                               T. Josh Judd
Edward Randall, Individually and as Rep of the
                                               Houston,TX 77056                       649 Fieldwood Energy LLC
Estate of Christopher Todd Randall, Deceased

                                              MARK G. ARTALL
GIBSON, GLENN                                 LAFAYETTE,LA 70505                      677 Fieldwood Energy LLC

                                              PO Box 301405
Hart Energy Publishing, LLC                   Dallas,TX 75303-1405                       1 Fieldwood Energy LLC

                                              712 Fifth Avenue, 36th Floor
Jones, E. Bartow                              New York,NY 10019                       730 Fieldwood Energy Inc.




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Creditor Name                         Address                              Claim # Debtor Entity
                                      88 Half Mile Rd
Lancaster, Jr., N. John               Darien,CT 06820                         732 Fieldwood Energy Inc.

                                      Jerome H Moroux
Landry, Duane                         Lafayette,LA 70501                      324 Fieldwood Energy LLC

                                      BROUSSARD & DAVID, LLC
O'NEIL, TOYS                          LAFAYETTE,LA 70502                      737 Fieldwood Energy LLC

                                      MARK G. ARTALL
PEREZ, TOMAS ARCE                     LAFAYETTE,LA 70505                      683 Fieldwood Energy LLC

                                      Bohman | Morse LLC
Rodi Marine Management, LLC           New Orleans,LA 70130                    781 Fieldwood Energy LLC

                                      MARK G. ARTALL
ROJAS, GILBERTO GOMEZ                 LAFAYETTE,LA 70505                      679 Fieldwood Energy LLC

                                      MARK G. ARTALL
ROSE, LEE BOB                         LAFAYETTE,LA 70505                      680 Fieldwood Energy LLC

                                      David C. Whitmore
Sigure, Melvin                        New Orleans,LA 70139                    957 Fieldwood Energy LLC

                                      Versabar c/o Phil Rundle
Versabar, Inc.                        Houston,TX 77091                           6 Fieldwood Energy LLC

                                      MARK G. ARTALL
VILANO, GABRIEL                       LAFAYETTE,LA 70505                      675 Fieldwood Energy LLC

                                      Darryl T. Landwehr
Wild, Aubrey                          New Orleans,LA 70112                    667 Fieldwood Energy LLC




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Creditor Name                            Address                            Claim # Debtor Entity
                                         MARK G. ARTALL
Williams, Ronald                         LAFAYETTE,LA 70505                    595 Fieldwood Energy LLC

                                         PO Box 68549
Zurich American Insurance                Schaumburg,IL 60196                   175 Fieldwood Energy LLC

                                         Locke Lord, LLP
Burlington Resources Offshore, Inc       New Orleans ,LA 70130                 607 Dynamic Offshore Resources NS, LLC

                                         Locke Lord, LLP
Burlington Resources Offshore, Inc.      New Orleans,LA 70130                  528 Fieldwood Energy SP LLC

                                         Locke Lord, LLP
Burlington Resources Offshore, Inc.      New Orleans,LA 70130                  608 Fieldwood Energy LLC

                                         Locke Lord, LLP
Burlington Resources Offshore, Inc.      New Orleans,LA 70130                  610 Bandon Oil and Gas, LP

                                         Locke Lord, LLP
Burlington Resources Offshore, Inc.      New Orleans,LA 70130                  611 Fieldwood Energy Offshore LLC

                                         Locke Lord, LLP
ConocoPhillips Company                   New Orleans,LA 70130                  527 GOM Shelf LLC

                                         Locke Lord, LLP
ConocoPhillips Company                   New Orleans,LA 70130                  593 Fieldwood Energy Offshore LLC

                                         Locke Lord, LLP
ConocoPhillips Company                   New Orleans,LA 70130                  594 Dynamic Offshore Resources NS, LLC

                                         Locke Lord, LLP
ConocoPhillips Company                   New Orleans,LA 70130                  596 Bandon Oil and Gas, LP




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Creditor Name                               Address                            Claim # Debtor Entity
                                            Locke Lord, LLP
ConocoPhillips Company                      New Orleans,LA 70130                  597 Fieldwood SD Offshore LLC

                                            Locke Lord, LLP
ConocoPhillips Company                      New Orleans,LA 70130                  599 Fieldwood Energy SP LLC

                                            Locke Lord LLP
ConocoPhillips Company                      New Orleans,LA 70130                  602 Fieldwood Energy LLC

                                            Locke Lord, LLP
Freeport-McMoRan Oil & Gas                  New Orleans,LA 70130                  530 Fieldwood Energy LLC

                                            Locke Lord, LLP
Freeport-McMoRan Oil & Gas                  New Orleans,LA 70130                  531 Fieldwood SD Offshore LLC

                                            c/o Winstead PC
SM Energy Company                           Houston,TX 77002                      584 Fieldwood Energy Offshore LLC

                                            Locke Lord, LLP
The Louisiana Land & Exploration Company,
                                            New Orleans,LA 70130                  598 Dynamic Offshore Resources NS, LLC
LLC
                                            Locke Lord, LLP
The Louisiana Land & Exploration Company,
                                            New Orleans,LA 70130                  600 Fieldwood Energy SP LLC
LLC
                                            Locke Lord, LLP
The Louisiana Land & Exploration Company,
                                            New Orleans,LA 70130                  603 GOM Shelf LLC
LLC
                                            Locke Lord, LLP
The Louisiana Land & Exploration Company,
                                            New Orleans,LA 70130                  605 Fieldwood Energy Offshore LLC
LLC
                                            Locke Lord, LLP
The Louisiana Land & Exploration Company,
                                            New Orleans,LA 70130                  606 Fieldwood Energy LLC
LLC




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Creditor Name                             Address                                         Claim # Debtor Entity
                                          Kevin W. Gillen, Sr. V.P./Assoc. G.C.
Aspen American Insurance Company and
                                          Rocky Hill,CT 06067                                475 Fieldwood Energy LLC
Aspen Specialty Insurance Company
                                          Michael J. Hurley, Esq.
Berkley Insurance Company and Berkley
                                          Morristown,NJ 07960                                514 Fieldwood Energy LLC
Regional Insurance Company
                                          Michael J. Hurley
Berkley Insurance Company and Berkley
                                          Morristown,NJ 07960                                550 Fieldwood Energy Offshore LLC
Regional Insurance Company
                                          Michael J. Hurley
Berkley Insurance Company and Berkley
                                          Morristown,NJ 07960                                558 GOM Shelf LLC
Regional Insurance Company

                                          Anthony Manganiello, Director - Surety Claims
Everest Reinsurance Company               Warren,NJ 07059                                   1133 Fieldwood Energy LLC


                                          James J. Real
Everest Reinsurance Company and Everest
                                          New York,NY 10017-6234                             635 Fieldwood Energy LLC
National Insurance Company
                                          James J. Real, Financial Lines Claims
Everest Reinsurance Company and Everest
                                          New York,NY 10017-6234                             639 GOM Shelf LLC
National Insurance Company

                                          Locke Lord LLP
HCC International Insurance Company LLC   Houston,TX 77002                                   658 Fieldwood Energy Offshore LLC

                                          Locke Lord LLP
HCC International Insurance Company Plc   Houston,TX 77002                                   650 Fieldwood SD Offshore LLC

                                          Locke Lord LLP
HCC International Insurance Company Plc   Houston,TX 77002                                   652 Fieldwood Energy LLC




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Creditor Name                               Address                             Claim # Debtor Entity
                                            Locke Lord LLP
HCC International Insurance Company Plc     Houston,TX 77002                       654 GOM Shelf LLC

Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                      246 Fieldwood Energy LLC
Indemnity Inc.
Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                      247 Dynamic Offshore Resources NS, LLC
Indemnity Inc.
Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                      250 Fieldwood Energy Offshore LLC
Indemnity Inc.
Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                      253 Fieldwood Onshore LLC
Indemnity Inc.
Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                      254 Fieldwood SD Offshore LLC
Indemnity Inc.
Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                      255 FW GOM Pipeline, Inc.
Indemnity Inc.
Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                      256 Fieldwood Energy Inc.
Indemnity Inc.
Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                      258 GOM Shelf LLC
Indemnity Inc.
Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                      259 Fieldwood Offshore LLC
Indemnity Inc.
Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                      260 Bandon Oil and Gas GP, LLC
Indemnity Inc.



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Creditor Name                                Address                               Claim # Debtor Entity
Lexon Insurance Company, Ironshore           Harris Beach PLLC
Specialty Insurance Company and Ironshore    Syracuse,NY 13202                        261 Fieldwood Energy SP LLC
Indemnity Inc.
Lexon Insurance Company, Ironshore           Harris Beach PLLC
Specialty Insurance Company and Ironshore    Syracuse,NY 13202                        262 Galveston Bay Pipeline LLC
Indemnity Inc.
Lexon Insurance Company, Ironshore           Harris Beach PLLC
Specialty Insurance Company and Ironshore    Syracuse,NY 13202                        263 Galveston Bay Processing LLC
Indemnity Inc.
Lexon Insurance Company, Ironshore           Harris Beach PLLC
Specialty Insurance Company and Ironshore    Syracuse,NY 13202                        284 Bandon Oil and Gas, LP
Indemnity Inc.
                                             Brandon K. Bains
Liberty Mutual Insurance Company             Southlake,TX 76092                       502 Fieldwood Energy LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           963 Fieldwood Energy LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           964 Dynamic Offshore Resources NS, LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           965 Fieldwood Onshore LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           966 Fieldwood SD Offshore LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           967 FW GOM Pipeline, Inc.

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           968 Galveston Bay Pipeline LLC




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Creditor Name                              Address                                 Claim # Debtor Entity
                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           969 GOM Shelf LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           970 Fieldwood Energy SP LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           971 Galveston Bay Processing LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           972 Bandon Oil and Gas, LP

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           973 Bandon Oil and Gas GP, LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           974 Fieldwood Offshore LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           975 Fieldwood Energy Offshore LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                           976 Fieldwood Energy Inc.

                                             Robert W. Miller
Philadelphia Indemnity Insurance Company     Nashville,TN 37203                       710 Fieldwood Energy LLC

                                             Attn: Claim Department
RLI Insurance Company                        Peoria,IL 61615                          788 Dynamic Offshore Resources NS, LLC

                                             Attn: Claim Department
RLI Insurance Company                        Peoria,IL 61615                          789 Fieldwood Energy Inc.




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Creditor Name                       Address                             Claim # Debtor Entity
                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                        790 Fieldwood Offshore LLC

                                    Attn: Claim Dept.
RLI Insurance Company               Peoria,IL 61615                        792 FW GOM Pipeline, Inc.

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                        794 Fieldwood Onshore LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                        795 Fieldwood SD Offshore LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                        798 Fieldwood Energy Offshore LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                        800 Galveston Bay Processing LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                        801 Galveston Bay Pipeline LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                        802 Fieldwood Energy SP LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                        807 Bandon Oil and Gas, LP

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                        809 Bandon Oil and Gas GP, LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                        813 Fieldwood Energy LLC




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Creditor Name                       Address                            Claim # Debtor Entity
                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       815 Galveston Bay Processing LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       816 Galveston Bay Pipeline LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       817 FW GOM Pipeline, Inc.

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       818 GOM Shelf LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       820 Fieldwood Onshore LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       821 Fieldwood SD Offshore LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       823 Fieldwood Offshore LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       826 FW GOM Pipeline, Inc.

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       827 Fieldwood Energy SP LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       828 Fieldwood Energy Offshore LLC

                                    Attn: Claim Department
RLI Insurance Company               Peoria,IL 61615                       829 Fieldwood Energy Inc.




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Creditor Name                          Address                                       Claim # Debtor Entity
                                       Attn: Claim Department
RLI Insurance Company                  Peoria,IL 61615                                  830 Bandon Oil and Gas, LP

                                       Attn: Claim Department
RLI Insurance Company                  Peoria,IL 61615                                  833 Dynamic Offshore Resources NS, LLC

                                       Attn: Claim Department
RLI Insurance Company                  Peoria,IL 61615                                  835 Bandon Oil and Gas GP, LLC

                                       Attn: Claim Department
RLI Insurance Company                  Peoria,IL 61615                                  836 GOM Shelf LLC

                                       Attn: David Grycz
RLI Insurance Company                  Chicago,IL 60607                                1122 Fieldwood Energy LLC

                                       Catherine Squillace
Sirius America Insurance Company       Glastonberry,CT 06033                            552 Fieldwood Energy Offshore LLC

                                       Catherine Squillace
Sirius America Insurance Company       Glastonbury,CT 06033                             553 Bandon Oil and Gas, LP

                                       Catherine Squillace
Sirius America Insurance Company       Glastonbury,CT 06033                             554 Fieldwood Energy LLC


                                       Robert Kuehn, President and General Counsel
Sirius America Insurance Company       New York,NY 10007                               1111 Bandon Oil and Gas, LP


                                       Neal Wasserman, President
Sirius America Insurance Company       Glastonberry,CT 06033                           1112 Fieldwood Energy Offshore LLC




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Creditor Name                              Address                              Claim # Debtor Entity
                                           Brandon K. Bains
The Hanover Insurance Company              Southlake,TX 76092                      704 Fieldwood Energy LLC

                                           Attn: Brandon K. Bains
The Hanover Insurance Company              Southlake,TX 76092                      705 Fieldwood Energy LLC

                                           Kate K. Simon
Travelers Casualty and Surety Company of
                                           Hartford,CT 06104-2989                  450 Fieldwood Energy Inc.
America
                                           Kate K. Simon
Travelers Casualty and Surety Company of
                                           Hartford,CT 06104-2989                  534 Fieldwood Energy LLC
America

                                           Locke Lord LLP
U.S. Specialty Insurance Company           Houston,TX 77002                        454 GOM Shelf LLC

                                           Attn: Philip G. Eisenberg
U.S. Specialty Insurance Company           Houston,TX 77002                        459 Bandon Oil and Gas, LP

                                           Attn: Philip G. Eisenberg
U.S. Specialty Insurance Company           Houston,TX 77002                        460 Fieldwood Energy Offshore LLC

                                           Locke Lord LLP
U.S. Specialty Insurance Company           Houston,TX 77002                        472 Dynamic Offshore Resources NS, LLC

                                           Locke Lord LLP
U.S. Specialty Insurance Company           Houston,TX 77002                        474 Fieldwood SD Offshore LLC

                                           Locke Lord LLP
U.S. Specialty Insurance Company           Houston,TX 77002                        476 Galveston Bay Pipeline LLC

                                           Attn: Philip G. Eisenberg
U.S. Specialty Insurance Company           Houston,TX 77002                        477 Fieldwood Energy LLC




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Creditor Name                           Address                                 Claim # Debtor Entity
                                        Locke Lord LLP
U.S. Specialty Insurance Company        Houston,TX 77002                           478 Fieldwood Onshore LLC

                                        Brandon K. Bains
XL Specialty Insurance Company          Southlake,TX 76092                         503 Fieldwood Energy LLC

                                        Brandon K. Bains
XL Specialty Insurance Company          Southlake,TX 76092                         521 Fieldwood Energy LLC

                                        Clark Hill Strasburger
Zurich American Insurance Company       Austin,TX 78701                            787 Fieldwood Energy LLC

                                        Duane J. Brescia
Zurich American Insurance Company       Austin,TX 78701                            791 Fieldwood SD Offshore LLC

                                        Clark Hill Strasburger
Zurich American Insurance Company       Austin,TX 78701                            793 Fieldwood Energy Offshore LLC

                                        Clark Hill Strasburger
Zurich American Insurance Company       Austin,TX 78701                            834 GOM Shelf LLC

                                        Kevin W. Gillen, Sr. V.P./Assoc. G.C.
Aspen American Insurance Company        Glastonbury,CT 06033                      1108 Fieldwood Energy LLC

                                        Michael J. Hurley, Esq.
Berkley Insurance Company and Berkley
                                        Morristown,NJ 07960                       1114 Fieldwood Energy Offshore LLC
Regional Insurance Company
                                        Michael J. Hurley, Esq.
Berkley Insurance Company and Berkley
                                        Morristown,NJ 07960                       1115 Fieldwood Energy LLC
Regional Insurance Company




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Creditor Name                                Address                                         Claim # Debtor Entity

                                             Anthony Manganiello, Director - Surety Claims
Everest Reinsurance Company                  Warren,NJ 07059                                   1110 GOM Shelf LLC


                                             Locke Lord LLP
HCC International Insurance Company PLC      Houston,TX 77002                                  1117 Fieldwood Energy LLC

                                             Locke Lord LLP
HCC International Insurance Company PLC      Houston,TX 77002                                  1118 GOM Shelf LLC

                                             Harris Beach PLLC
Lexon Insurance Company                      Syracuse,NY 13202                                 1101 Fieldwood Energy LLC

                                             Harris Beach PLLC
Lexon Insurance Company                      Syracuse,NY 13202                                 1102 GOM Shelf LLC

Lexon Insurance Company, Ironshore           Lee. E. Woodard, Esq.
Specialty Insurance Company and Ironshore    Syracuse,NY 13202                                 1103 Fieldwood Energy Offshore LLC
Indemnity Inc.
                                             Langley LLP
Liberty Mutual Insurance Company             Southlake,TX 76092                                1129 Fieldwood Energy LLC

                                           The Law Offices of T. Scott Leo, P.C.
North American Specialty Insurance Company Chicago,IL 60602                                    1082 Fieldwood Energy Offshore LLC

                                             Attn: David Grycz
RLI Insurance Company                        Chicago,IL 60607                                  1116 Fieldwood Energy Offshore LLC


                                             Robert Kuehn, President and General Counsel
Sirius America Insurance Company             New York,NY 10007                                 1113 Fieldwood Energy LLC




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Creditor Name                              Address                              Claim # Debtor Entity
                                           c/o Langley LLP
The Hanover Insurance Company              Southlake,TX 76092                     1130 Fieldwood Energy LLC

                                           Langley LLP
Travelers Casualty & Surety Company of
                                           Southlake,TX 76092                     1127 Fieldwood Energy LLC
America

                                           c/o Langley LLP
XL Specialty Insurance Company             Southlake,TX 76092                     1128 Fieldwood Energy LLC

                                           Clark Hill PLC
Zurich American Insurance Company Thomas
                                           Austin,TX 78701                        1086 Fieldwood Energy Inc.
Finley

                                           William S. Robbins
Partco, LLC                                Baton Rouge,LA 70801                    804 Fieldwood Energy LLC

                                           Crady Jewett McCulley & Houren LLP
Republic Helicopters, Inc.                 Houston,TX 77019                        411 Fieldwood Energy LLC

                                           Richard M. Gaal
Core Industries, Inc.                      Mobile,AL 36601                         689 Fieldwood Energy LLC

                                           Attn: Joshua Eppich, Esq.
EOG Resources, Inc.                        Fort Worth,TX 76102                     720 Fieldwood Energy LLC

                                           Bullen & Plauche
Aries Marine Corporation                   Lafayette,LA 70503                      206 Fieldwood Energy LLC

                                           Duhon Law Firm
Superior Performance, Inc.                 Lafayette,LA 70505                      814 Fieldwood Energy LLC

                                           c/o Zachary McKay
Basic Energy Services, LP                  Houston,TX 77084                        592 Fieldwood Energy LLC




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Creditor Name                            Address                               Claim # Debtor Entity
                                         Andrews Myers, P.C.
Chevron U.S.A. Inc.                      Houston,TX 77056                         424 Fieldwood Energy SP LLC

                                         Andrews Myers, P.C.
Chevron U.S.A. Inc.                      Houston,TX 77056                         425 Fieldwood Energy Offshore LLC

                                         Edward L. Ripley
Chevron U.S.A. Inc.                      Houston,TX 77056                         426 Fieldwood Energy LLC

                                         Andrews Myers, P.C.
Chevron U.S.A. Inc.                      Houston,TX 77056                         429 Fieldwood SD Offshore LLC

                                         Andrews Myers, P.C.
Texaco Inc.                              Houston,TX 77056                         427 Fieldwood Energy SP LLC

                                         Andrews Myers, P.C.
Texaco Inc.                              Houston,TX 77056                         428 Fieldwood Energy Offshore LLC

                                         Andrews Myers, P.C.
Texaco Inc.                              Houston,TX 77056                         431 Fieldwood Energy LLC

                                         Andrews Myers, P.C.
Texaco Inc.                              Houston,TX 77056                         442 Fieldwood SD Offshore LLC

                                         Andrews Myers, P.C.
Union Oil Company of California          Houston,TX 77056                         430 Fieldwood Energy LLC

                                         Andrews Myers, P.C.
Union Oil Company of California          Houston,TX 77056                         444 Fieldwood SD Offshore LLC

                                         Andrews Myers, P.C.
Union Oil Company of California          Houston,TX 77056                         445 Fieldwood Energy Offshore LLC




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Creditor Name                              Address                               Claim # Debtor Entity
                                           Andrews Myers, P.C.
Union Oil Company of California            Houston,TX 77056                         448 Fieldwood Energy SP LLC

                                           Andrews Myers, P.C.
Unocal Pipeline Company                    Houston,TX 77056                         446 Fieldwood Energy Offshore LLC

                                           Andrews Myers, P.C.
Unocal Pipeline Company                    Houston,TX 77056                         447 Fieldwood Energy LLC

                                           Andrews Myers, P.C.
Unocal Pipeline Company                    Houston,TX 77056                         449 Fieldwood SD Offshore LLC

                                           Andrews Myers, P.C.
Unocal Pipeline Company                    Houston,TX 77056                         451 Fieldwood Energy SP LLC

                                           c/o Barnet B. Skelton, Jr.
Red Willow Offshore, LLC                   Houston,TX 77002                         725 Fieldwood Energy Offshore LLC

                                           Tae-Gook Lee
ANKOR E&P Holdings Corporation             New Orleans,LA 70112                     508 Fieldwood Energy Offshore LLC

                                           1615 Poydras Street, Suite 2000
ANKOR Energy LLC                           New Orleans,LA 70112                     516 Fieldwood Energy Offshore LLC

                                           John A. Mouton, III
Daniels, Derrick                           Lafayette,LA 70598                       351 Fieldwood Energy LLC

                                           Squire Patton Boggs (US) LLP
Ecopetrol America LLC                      Phoenix,AZ 85004                         455 Fieldwood Energy LLC

                                           c/o Barnet B. Skelton, Jr.
Houston Energy Deepwater Ventures I, LLC   Houston,TX 77002                         717 Fieldwood Energy LLC




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Creditor Name                                  Address                                     Claim # Debtor Entity
                                               c/o Barnet B. Skelton, Jr.
Red Willow Offshore, LLC                       Houston,TX 77002                               617 Fieldwood Energy LLC

                                               Porter Hedges LLP
Talos Energy Offshore LLC, Talos Energy LLC,
                                               Houston,TX 77002                               724 Fieldwood Energy Offshore LLC
Talos Energy Inc., Talos Production Inc.
                                               Porter Hedges LLP
Talos Energy Offshore LLC, Talos Energy LLC,
                                               Houston,TX 77002                               780 Fieldwood Energy LLC
Talos Energy Inc., Talos Production Inc.
                                               Porter Hedges LLP
Talos Energy Offshore LLC, Talos Energy LLC,
                                               Houston,TX 77002                               786 GOM Shelf LLC
Talos Energy Inc., Talos Production Inc.

                                               Matthew D. Cavenaugh
Atlantic Maritime Services LLC                 Houston,TX 77010                               696 Fieldwood Energy LLC

                                               Locke Lord LLP
Freeport-McMoRan Oil & Gas LLC                 New Orleans,LA 70130                          1007 Fieldwood SD Offshore LLC

                                               Locke Lord LLP
Freeport-McMoRan Oil & Gas, LLC                New Orleans,LA 70130                           991 Fieldwood Energy LLC

                                               Locke Lord LLP, Attn: Omer F. Kuebel, III
McMoRan Oil & Gas LLC                          New Orleans,LA 70130                           996 Fieldwood SD Offshore LLC

                                               Locke Lord LLP
McMoRan Oil & Gas, LLC                         New Orleans,LA 70130                           990 Fieldwood Energy LLC

                                               Locke Lord LLP
McMoRan Oil & Gas, LLC                         New Orleans,LA 70130                           994 Fieldwood Energy Offshore LLC

                                               Locke Lord LLP
McMoRan Oil & Gas, LLC                         New Orleans,LA 70130                          1006 Dynamic Offshore Resources NS, LLC




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Creditor Name                              Address                                Claim # Debtor Entity
                                           Michael Fishel
ILX Prospect Katmai, LLC                   Houston,TX 77002                          874 Fieldwood Energy LLC

                                           Attn: Michael Fishel
Ridgewood Katmai, LLC                      Houston,TX 77002                          875 Fieldwood Energy LLC

                                           Locke Lord, LLP
McMoRan Oil & Gas                          New Orleans,LA 70130                      473 Fieldwood Energy LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                           747 Fieldwood Energy Inc.

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                           748 Dynamic Offshore Resources NS, LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                           753 Fieldwood Energy LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                           754 Fieldwood SD Offshore LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                           755 Fieldwood Onshore LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                           759 Fieldwood Energy Offshore LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                           764 Bandon Oil and Gas GP, LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                           766 FW GOM Pipeline, Inc.




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Creditor Name                              Address                              Claim # Debtor Entity
                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         767 Fieldwood Offshore LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         768 Galveston Bay Processing LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         769 Bandon Oil and Gas, LP

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         770 Galveston Bay Pipeline LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         771 Fieldwood Energy SP LLC

                                           Locke Lord LLP
Cox Oil, LLC and related entities          Boston,MA 02199                         774 GOM Shelf LLC

                                           c/o Locke Lord LLP
W&T Energy VI, LLC                         Houston,TX 77002                        997 Fieldwood Energy SP LLC

                                           c/o Locke Lord LLP
W&T Energy VI, LLC                         Houston,TX 77002                        998 Bandon Oil and Gas, LP

                                           c/o Locke Lord LLP
W&T Energy VI, LLC                         Houston,TX 77002                       1002 Fieldwood Energy LLC

                                           Locke Lord, LLP
W&T Energy VI, LLC                         Houston,TX 77002                       1005 GOM Shelf LLC

                                           Locke Lord LLP
W&T Energy VI, LLC                         Houston,TX 77002                       1012 Dynamic Offshore Resources NS, LLC




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Creditor Name                    Address                                      Claim # Debtor Entity
                                 c/o Locke Lord LLP
W&T Energy VI, LLC               Houston,TX 77002                               1013 Fieldwood Energy Offshore LLC

                                 Locke Lord LLP
W&T Offshore, Inc.               Houston,TX 77002                                988 Fieldwood Energy SP LLC

                                 Locke Lord LLP
W&T Offshore, Inc.               Houston,TX 77002                                989 Bandon Oil and Gas, LP

                                 Locke Lord LLP
W&T Offshore, Inc.               Houston,TX 77002                                992 Fieldwood Energy LLC

                                 Locke Lord LLP, Attn: Phillip G. Eisenberg
W&T Offshore, Inc.               Houston,TX 77002                                995 GOM Shelf LLC

                                 Locke Lord LLP
W&T Offshore, Inc.               Houston,TX 77002                               1008 Fieldwood Energy Offshore LLC

                                 c/o Locke Lord LLP
W&T Offshore, Inc.               Houston,TX 77002                               1011 Dynamic Offshore Resources NS, LLC

                                 Locke Lord, LLP
W&T Energy VI, LLC               Houston,TX 77002                                555 Fieldwood Energy LLC

                                 Locke Lord, LLP
W&T Energy VI, LLC               Houston,TX 77002                                556 Bandon Oil and Gas, LP

                                 Locke Lord, LLP
W&T Energy VI, LLC               Houston,TX 77002                                562 Fieldwood Energy LLC

                                 Locke Lord, LLP
W&T Energy VI, LLC               Houston,TX 77002                                563 Dynamic Offshore Resources NS, LLC




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Creditor Name                                  Address                            Claim # Debtor Entity
                                               Locke Lord, LLP
W&T Energy VI, LLC                             Houston,TX 77002                      566 Fieldwood Energy Offshore LLC

                                               Locke Lord, LLP
W&T Energy VI, LLC                             Houston,TX 77002                      567 Fieldwood Energy SP LLC

                                               Locke Lord, LLP
W&T Energy VI, LLC                             Houston,TX 77002                      570 GOM Shelf LLC

                                               Locke Lord, LLP
W&T Offshore                                   Houston,TX 77002                      573 Dynamic Offshore Resources NS, LLC

                                               Locke Lord, LLP
W&T Offshore Inc                               Houston,TX 77002                      576 Fieldwood Energy SP LLC

                                               Locke Lord, LLP
W&T Offshore, Inc.                             Houston,TX 77002                      571 Fieldwood Energy LLC

                                               Locke Lord, LLP
W&T Offshore, Inc.                             Houston,TX 77002                      572 Fieldwood Energy Offshore LLC

                                               Locke Lord, LLP
W&T Offshore, Inc.                             Houston,TX 77002                      574 GOM Shelf LLC

                                               Locke Lord, LLP
W&T Offshore, Inc.                             Houston,TX 77002                      575 Bandon Oil and Gas, LP

                                               952 Echo Lane
OMI Environmental Solutions                    Houston,TX 77024                     1135 Fieldwood Energy LLC

                                               PO Box 25165/MS64200B
Department of the Interior/Office of Natural
                                               Denver,CO 80225                      1134 Fieldwood Energy LLC
Resources Revenue




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Creditor Name                               Address                             Claim # Debtor Entity
                                            Lee E. Woodward Esq.
Lexon Insurance Company                     Syracuse,NY 13202                     1136 Fieldwood Energy LLC

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Lexon Insurance Company                     Syracuse,NY 13202                     1137 GOM Shelf LLC

Lexon Insurance Company, Ironshore          Harris Beach PLLC
Specialty Insurance Company and Ironshore   Syracuse,NY 13202                     1138 Fieldwood Energy Offshore LLC
Indemnity Inc.




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